Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 1 of 72

EXHIBIT |
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 2 of 72

AO 88A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

Plaintiff
Vv.

Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Nee ee OS

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Sam Awad
395 Oak Harbor Court, Marietta, GA 30066

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/06/2020 9:00 am

 

 

 

The deposition will be recorded by this method; | Stenographic Recording

 

 

@ Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kounch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

   

 

 

CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Altorney’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:

 

Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

T received this subpoena for (name of individual and title, if any)

 

on: (date)

| served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) 3; OF

 

O [returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, [ have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 4 of 72

AO 88A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, ifthe person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and wouid not incur substantial
expense.

(2) For Offer Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 10¢ miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises fo be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement,

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attommey
responsible for issuing and serving a subpoena must take zeasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost eamings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2} Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection uniess also commanded to appear for a deposition,
hearing, or tral.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or atiomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises-——or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

@) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must profect a person whe is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Guashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i} fails to allow a reasonable time to comply;

{ii} requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

{iv} subjects a person to undue burden.

(B) hen Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a frade secret or other confidential research, development,
or commercial information; or

(ii} disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d\(3}(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

{e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronicatly Stored Information. These
procedures apply to producing documents or electronically stored
information:

{A) Docwmenss, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form, The
person responding need not produce the same electronically stored
information in more than one form.

(D} fnaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion te compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2\(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection,

(A) information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g} Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to cbey the
subpoena or an order related to it.

 

For access to subpeena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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EXHIBIT 2
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 6 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.

Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

ee NS eS

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Dinesh Chandra
2564 Northern Court, Lawrenceville, GA 30044

 

(Name of person to whom this subpoena is directed)

ot Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/06/2020 11:00 am

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

of Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material; 1. All communications between you and any plaintiff or plaintiff representative in this action.
2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(qd), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date: 03/24/2020

CLERK OF COURT

Signature of Clerk or Deputy Clerk = Arforney ’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 7 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2}

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P, 45.)

[ received this subpoena for (name of individual and title, if any)

 

on (date)

7 I served the subpoena by delivering a copy to the named individual as follows:

 

 

Onl (date) 5; or

 

CJ I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Date:

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 8 of 72

AQ 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly Gansacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

{A) production of documents, electronically stored information, or
tangible things at a place within 160 miles of where the person resides, is
employed, or regularly iransacts business in person; and

{B) inspection of premises at the premises to be inspected.

(a) Protecting a Person Subject to a Subpoena; Enforcement.

(i) Aveiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonabie attorney’s fees-~on a party or attorney who
fails to comply.

(2) Conunand to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or te
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Gbjections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to Inspecting, copying, testing, or
sampling any or ail of the materials or to inspecting the premises—or to
producing electronicaily stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

{i} At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed im the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) faiis to allow a reasonable time to comply;

(ii} requires a person to comply beyond the geographical limits
specified in Rule 45{c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject te or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(li) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d}{3(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Blectronically Stored Information Nat Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which if is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) lnaccessibie Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) jnformation Produced. Lf information produced in response fo a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing courte—may hold in contempt a person
who, having been served, fails without adequate excuse to ohey the
subpoena or an order related to if.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 3
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

Plaintiff
V.

 

Civil Action No. 1:18-CV-05391 (SCJ)
Brad Raffensperger, et al.,

 

Ne ee te 8

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Vineeta Damineni
2808 Grey Moss Pass, Duluth, GA 30097

 

(Name of person to whom this subpoena is directed)

a Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/06/2020 1:00 pm

 

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

Wh Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material; 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT
OR

  

 

 

Signature of Clerk or Deputy Clerk Attorney 's signa 7

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , Who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 11 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

[ received this subpoena for (name of individual and title, if any)

 

on (date)

| served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) 5 or

 

© [returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Prinied name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 12 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e}, and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly fransacts business in person; or
{B) within the state where the person resides, is employed, or regularly
fransacts business in person, if the person
(i) is a party or a party’s officer; or
fii) is commanded {o attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting 2 Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject fo the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—-which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materiais or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection uniess also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [f an objection is made,
the following rules apply:

(i) Af any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection,

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretaimed expert's opinion or information that does
not describe specific occurrences in dispute and resuits from the expert’ s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. \n the circumstances
described in Rule 45(d)(3)(8), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena,

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

{A) Documents. A person responding to 2 subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(8B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(bX2)(C), The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection,

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

{ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties fo assess the claim.

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
unt# the claim is resolved; must take reasonabie steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hoid in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 4
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 14 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Nee Ne

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

16? Chris Duncan
57 Forsyth Street, Unit 8C, Atlanta, GA 30303

 

(Name of person to whom this subpoena is directed)

a Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/07/2020 9:00 am

 

 

 

The deposition will be recorded by this method; _ Stenographic Recording

 

@ Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

* MG

i , .
‘Attorney's signature

Date: 03/24/2020
CLERK OF COURT

 

Ss ignature of Clerk or Deputy Clerk

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , Who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 15 of 72

AO 88A (Rev, 02/14} Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 43.)

I received this subpoena for ‘name of individual and title, if any)

 

on (date}

 Iserved the subpoena by delivering a copy to the named individual as follows:

 

 

on. (date) ; or

 

O I returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 16 of 72

AO 88A (Rey, 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance.

(Q) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly iransacts business in person; oF
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded fo attend a trial and would not incur substantial
expense.

(2) For Other Discavery. A subpoena may command:

{A} production of documents, electronically stored information, or
tangible things at a piace within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(8) inspection of premises at the premises to be inspected.

(a) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction-——which may include
lost earnings and reasonable attomey’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permii the inspection of premises, need not appear in person at the place of
production or mspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materiais or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(il) These acts may be required only as directed in the order, and the
order must pretect a persan who is neither a party nor a party’s officer from
significant expense resulting ffom compliance,

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii} requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Speeifving Conditions as an Alternative, In the circumstances
described in Rule 45(d}(3}(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

{ec} Duties in Responding to a Subpoena.

(1) Producing Documents or Electronicallp Stored Information, These
procedures apply to producing documents or electronically stored
information:

{A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B} Form for Praducing Electronically Stored Information Not Specified.
[fa subpoena docs not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) fnaccesstble Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessibie because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C), The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

{A) fnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties fo assess the claim.

(B) Information Produced. if information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. Afer being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seai to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved,

{g) Contempt.

The court for the district where compliance is required—and aiso, after a
motion is transferred, the issuing court—~may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it,

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 5
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 18 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Ne ee eS

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Cristian Gonzalez
282 Oth Street, NE, Apt. #10, Atlanta, GA 30309

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/07/2020 11:00 am

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

of Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.
2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. “Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR x
Lar

Signature of Clerk or Deputy Clerk Attorney's signature -—~

Date: 03/24/2020

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 19 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and tile, if any)

 

on (date)

CI J served the subpoena by delivering a copy to the named individual as follows:

 

 

On (date) ,or

 

{] I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 20 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(i) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly iransacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i} is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery, A subpoena may command:

(A} production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement,

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command io Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stered information, or tangible things, or to
permit the inspection of premises, need nct appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following mules apply:

(i) Af any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
erder compelling production or inspection.

(li) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting fromm compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45{c);

(iif) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. Tn the circumstances
described in Rule 45(€)(3}(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(c) Duties in Responding to a Subpoena.

(1) Producing Decuments or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

{A) Documents. A person responding to a subpoena to preduce documents
must produce them as they are kept in the ordinary course of business or
must organize and labe! them to correspond to the categories in the demand.

{B) Form jor Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2KC). The court may specify conditions for the discovery,

Q) Claiming Privilege or Protection.

(A) /nformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Nofe (2013).

 

 
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EXHIBIT 6
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 22 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Georgia

Fair Fight Action, Inc., et al.,

 

Plaintiff
Ma

Brad Raffensperger, et al.,

Civil Action No. 1:18-CV-05391 (SCJ)

 

eS SS

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: James Hamelburg
199 Walker Street, Atlanta, GA 30313

(Name of person to whom this subpoena is directed)

ot Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: BEB-337-821 8 Date and Time:
Conference Code: 845871# 04/07/2020 1:00 pm

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

A Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. “Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

cone " MU

Signature of Clerk or Deputy Clerk Attorviey Hey 's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 23 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

O I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) or

 

M I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ tor services, for a total of $ 0.00

I declare under penalty of perjury that this information ts true.

Date:

 

Server's signature

 

Printed name and fitle

 

Server’s address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 24 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition ina Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(i) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, ts employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Disceyery. A subpocna may command:

{A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or reguiarly transacts business in person; and.

{B} inspection of premises at the premises to be inspected,

(d) Protecting a Person Subject to a Subpeena; Enforcement.

()) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonabie steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earings and reasonabie attorney’s fees—~on a party or attorney who
fails to comply.

(2) Conunand to Produce Materials er Permit Inspection,

(A) Appearance Not Required. A person commanded fo produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information im the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court tor the district where compliance is required for an
order compelling production cr inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s afficer from
significant expense resulting from compliance.

(3) Guashing or Modifying a Subpoena.

{A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Ruie 45(c),

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

{B) hen Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurences in dispute and results from the expert’s
study that was not requested by a party.

{C) Specifping Conditions as an Alternative. In the circumstances
described in Rule 45(4}(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions ifthe serving party:

{i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Iiformation, These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaceessible Electronicaily Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) information Withheld. A person withhoiding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(i) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. lf information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must prompély return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
unti the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—amnay hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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EXHIBIT 7
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 26 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
V.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Ne Ne Ne es es

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
To: Willie Jones

1799 Gold Finch Way, Austell, GA 30168

(Name of person to whom this subpoena is directed)

 

a Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/08/2020 9:00 am

 

 

 

The deposition will be recorded by this method; _ Stenographic Recording

 

 

A Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Signature of Clerk or Deputy Clerk

Ss f_ é

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 27 of 72

AO 88A (Rev. 02/14) Subpoena fo Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

1 received this subpoena for (name of individual and title, if any)

 

on (date)

© I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) 3 or

 

( I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, ete.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 28 of 72

AO 88A (Rev. 62/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and wou!d not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, er
tangible things at a place within 100 miles of where the person resides, is
empioyed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected,

{d) Protecting a Person Subject te a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attomey who
fails to comply.

(2) Command te Produce Materials or Permit Inspection.

(A) Appearance Net Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the mspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person conunanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to Inspecting, copying, testing, or
sampling any or all of the materials or ta inspecting the premises—or to
producing electronicaily stored imformation in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. if an objection is made,
the following rules apply:

(i) Af any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

{ii} These acts may be required onfy as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden,

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

Gi) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45{d}(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(i) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Decuments. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize ang label them to correspond fo the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material nust:

(B expressly make the claim; and.

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced, If information produced in response to a
subpoena is subject fo a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before bemg notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved,

(zg) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing couzt—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R, Civ. P. 45(a) Committee Note (2013).

 
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EXHIBIT 8
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 30 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Nee ee Ne 8

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
‘LO! Lottie Moore

96 Thorton Road, Marietta, GA 39867

(Name of person to whom this subpoena is directed)

 

of Testimony. YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify ata
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:

Conference Code: 845871# 04/08/2020 12:00 pm

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

a Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT Fd
OR e

  

 

 

 

 

Signature of Clerk or Deputy Clerk La Attorney ’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. . who issues or requests this subpoena, are:

 

Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 31 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R, Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

QO) I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) ; or

 

(1 I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 32 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 160 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

{2} For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsibie for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attomey’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection,

(A) Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Cbyections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written cbjection to inspecting, copyig, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order muist protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

3) Quashing or Modifying a Subpoena.

{A) When Required. Oa timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c};

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

{iv} subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii} disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(8), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to a Subpoena.

(1) Producing Dectuments or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them: as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories m the demand,

(B) Form jor Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
whick it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D} Inaccessible Electronically Stored information. The person
responding need not provide discovery of electronicaliy stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2})(C), The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as triai-preparation
material must:

{i} expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. [f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under sea! to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is require¢—and also, after a
motion is transferred, the issuing court--may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Nofe (2013).

 

 
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 33 of 72

EXHIBIT 9
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 34 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
v.
Brad Raffensperger, et al.,

 

Civil Action No, 1:18-CV-05391 (SCJ)

 

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Keteria Neal
295 East Burns Court, Apt. B, Marietta, GA 30008

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/08/2020 3:00 pm

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. “Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

  

 

 

 

CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Attorney's signaturé
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:

 

Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 35 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition ina Civil Action (Page 2)

Civil Action No, 1:18-CV-05391 (SCJ)

PROOE OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

 

I received this subpoena for (name of individual and title, if ary)
on (date)

CJ I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) or

 

Ci T returned the subpoena unexecuted because:

 

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 36 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance.

(l) For a Trial, Hearing, er Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) Far Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attammey’s fees—on a party or attorney who
fails to comply.

(2) Conmiand to Produce Materiais or Permit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or te
permit the inspection of premises, need not appear in person at the place of
production or inspection uniess also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded te produce documents or tangible
things or te permit inspection may serve on the party or attommey designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. Ifan objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party ner a party’s officer from
significant expense resulting from compliance.

(3) Guashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(if) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to unde burden.

(B) hen Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C)} Specifving Conditions as an Alternative. In the circumstances
described im Rule 45(d)(3)(B}, the court may, instead of quashing or
modifying a subpoena, order appearance cr production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpeena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form jor Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need net produce the same electronically stored
information in more than one form.

{D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2C}. The court may specify conditions for the discovery,

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

{i} expressly make the claim; and

(i) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved,

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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EXHIBIT 10
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 38 of 72

AO 88A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the

Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Nee Ne Ne

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Tamara Phillips
340 Stoneview Place, Atlanta, GA 30331

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/09/2020 9:00 am

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

a Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR

Signature of Clerk or Deputy Clerk

Date: 03/24/2020

  

Attorney's signa

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 39 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

C] I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) ; or

 

O | returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ tor services, for a total of $ 0.00

I declare under penaity of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 40 of 72

AO 8A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g} (Effective 12/1/13)

(e) Place of Compliance,

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, ifthe person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Persen Subject to a Subpoena; Enforcement,

(1) Avoiding Undue Burden or Expeitse; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction——which may include
lost earings and reasonable afttorney’s fees——on a party or attorney who
faiis ta comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection uniess also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting frem compliance.

(3) Quashing or Modifying a Subpeena.

(A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

() fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the gecgraphical limits
specified in Rule 45(c);

(ii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies: or

(iv) subjects a person to undue burden,

(B} When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(}) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that dees
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

{C) Specifying Conditions as an Alternative, lu the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(i) ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand,

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form cr forms.

(©) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

{D) Jnaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. 1f that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(bX2\(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation,
material musi:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documenis, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim,

(B) information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must prompily return, sequester, or destroy the specified
information and any copies it has: must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for ¢ determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required——and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to cbey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 11
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.

Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Ne Ne Ne te te

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Bradley Resler
2806 Alston Drive, Atlanta, GA 30317

 

(Name of person to whom this subpoena is directed)

av Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/09/2020 12:00 pm

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

A Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action,

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT
OR

  

 

tofney ‘Sst re

Signature of Clerk or Deputy Clerk

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 43 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

T received this subpoena for (name of individual and title, if any)

 

on (date)

© I served the subpoena by delivering a copy to the named individual as follows:

 

On (date) ; or

 

C] | returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 44 of 72

AO 838A {Rey. 62/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e}, and (g) (Effective 12/1/13)

(c} Place of Compliance.

(1) Fer a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, ifthe person
(i} is a party or a party’s officer; or
(iB is commanded to attend a trial and wouid not incur substantia!
expense.

(2) For Other Discovery. A subpoena may command:

{A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly trensacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d} Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expeise; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Perntit Inspection.

(A) Appearance Not Required, A person commanded to produce
documents, electronicaily stored information, or tangibfe things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or fo permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

{i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection,

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) faiis to aliow a reasonable time to comply:

(ii} requires a person te comply beyond the geographical limits
specified in Rule 45(c},

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv} subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercia! information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. in the circumstances
described in Rule 45{d)(3}(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(i) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(E) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding fo a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

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Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) information Withheld. A person withholding subpoenaed information
under a claim that if is privileged cr subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim,

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim 1s resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified, and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is fansferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to if.

 

Far access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2033).

 
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 45 of 72

EXHIBIT 12
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 46 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Nee Ne a a a

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
To: Bradley Schlesinger
4818 Tilly Mill Road, Dunwoody, GA 30360

(Name of person to whom this subpoena is directed)

 

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/09/2020 3:00 pm

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

a Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. “Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

   

 

CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Attorney's signature :
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants _
State Election Board, et al. , Who issues or requests this subpoena, are:

 

Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 47 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed, R. Civ, P. 45.)

I received this subpoena for (name of individual and title, if any)

 

On (date)

C) [served the subpoena by delivering a copy to the named individual as follows:

 

On (date) ; or

 

T I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

So

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 48 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance.

(1) Fer a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s efficer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

{d) Protecting a Person Subject fo a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command te Produce Materials or Permit Inspection,

(A) Appearance Not Required, A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection uniess also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served, If an objection is made,
the following rules apply:

@) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection,

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(i) requires a person to comply beyond the geographical limits
specified in Rule 45(c};

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitied To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or medify the subpoena if 11 requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(il) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(€) Specifving Conditions as an Alternative. in the circumstances
described in Rute 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions ifthe serving party:

(3) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii} ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to a Subpoena.

(Ll) Producing Documents or Electronically Stored Information. ‘These
procedures apply to producing documents or electronically stored.
information:

(A) Documents. A person responding to a subpoena to produce decuments
must produce them as they are kept in the ordinary course of business or
must organize and label them fo correspond to the categories in the demand,

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

{C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same efectronically stored
information in more than one form.

(D) inaccessible Electronically Siored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the fimitations of Rule
26(dX2)(C). The court may specify conditions for the discovery,

(2) Claiming Privilege er Protection.

{A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privieged or protected, will enable the parties to assess the claim.

(B) Information Produced. lf information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. Afler being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified: and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim, The person whe
produced the information must preserve the information until the claim is
resolved.

(zg) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court-—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 13
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 50 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
Vv.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

ee OS SS’

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Marcus Soori-Arachi
1435 Boggs Road, Apt. #1506, Duluth, GA 30096

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 84587 1# 04/10/2020 9:00 am

 

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT
OR

  
  

— ——
Attorney's signature

 

Signature of Clerk or Deputy Clerk

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 51 of 72

AO 88A (Rev, 02/14) Subpoena ta Testify at a Deposition ina Civil Action (Page 2)

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

[received this subpoena for (ame of individual and litle, if any)

 

on (date)

1 I served the subpoena by delivering a copy to the named individual as foltows:

 

 

On (date) ; or

 

(J l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 52 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (2) (Effective 12/1/13)

{c} Place of Compliance.

(1) For a Trial, Bearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

{d)} Protecting a Person Subject to a Subpoena; Enforcement.

()} Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanctio;—which may include
lost eamings and reasonable attorney’s fees—on a party or attorney who
fails fo comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
producticn or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit mspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materiais or to inspecting the premises—or to
producing electronically stored information in the ferm or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any ime, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person whe is neither a party nor a party’s officer from
significant expense resulting from compliance.

G) Quashing or Modifying a Subpoena,

(A) IPhen Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply:

(ii) requires a person to comply beyond the peographical limits
specified in Rule 45(c);

(ii) requires disclosure of privileged or other protected matter, ifne
exception or waiver applies; or

(iv) subjects a person toe undue burden.

(B) When Permitied. Te protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
cr commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as ar Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(c) Dudes in Responding fo a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documenis, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in che demand.

(B) Form for Producing Electronically Siored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored information Produced in Only One Form. Te
person responding need not produce the same electronically stored
information in more Chan one form.

(D) Inaccesstble Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion fo compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery fom such sources if the
requesting party shows good cause, considering the iimifations of Rule
26(b)(2)(C). The court may specify conditions for the discovery,

(2) Claiming Privilege or Protection.

(A) information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim, The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

Por access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2613).

 

 
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EXHIBIT 14
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 54 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

Plaintiff
Vv.

Brad Raffensperger, et al.,

 

Civil Action No.  1:18-CV-05391 (SCJ)

 

ee NS Ne ee

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Yujue Wang
7355 Brookstead Crossing, Johns Creek, GA 30097

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/10/2020 12:00 pm

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

A Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020
CLERK OF COURT ]
OR (
a t AAS i

Signature of Clerk or Deputy Clerk Alforney’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:

Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).

 
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 55 of 72

AO 88A {Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court uniess required by Fed. R. Civ. P. 45.)

T received this subpoena for (name of individual and tile, if any)

 

On (date)

G I served the subpoena by delivering a copy to the named individual as follows:

 

 

on date} ‘or

 

[ | returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 56 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g)} (Effective 12/1/13)

(c} Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
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{A) within 100 miles of where the person resides, is employed, or
regularly transacts busisess in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial aad would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject toa Subpoena; Enfercement.

(1) Aveiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonabie attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronicaily stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection fo inspecting, copying, testing, or
sampling any cr ail of the materiais or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following mies apply:

(® At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii} These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Guashing or Modifying a Subpoena.

{A} When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

ii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

{B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(3) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. Tn the circumstances
described in Rule 45(d)(3}{B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

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otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(ec) Duties in Responding to a Subpoena,

(i) Producing Documents or Electronicaily Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
nrust organize and label them to correspond to the categories in the demand.

(B) Form for Producing Blectronically Stored Information Not Specified.
ifa subpoena does not specify a form for producing electronicafly stored
information, the person responding must produce it in a form or forms in
which if is ordinarily maintained or in a reasonably usable form or forms,

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronicalfy stored
information in more than one form.

(D) fnaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Ruie
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim, and

(id) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt,

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 57 of 72

EXHIBIT 15
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 58 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

Plaintiff
V.
Brad Raffensperger, et al.,

 

Civil Action No. 1:18-CV-05391 (SCJ)

 

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Ernest White
450 Caxton Court, Atlanta, GA 30331

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/10/2020 3:00 pm

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

 

 

 

A Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2, All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR (4

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants
State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 59 of 72
AO 88A (Rev. 02/14} Subpoena to Testify at a Deposition in a Civil Action (Page 2}
Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R. Civ, P. 45.)

| received this subpoena for (name of individual and title, if any)

 

On (date)

(1 [served the subpoena by delivering a copy to the named individual as follows:

 

 

On (date) 3 OF

 

[7 I returned the subpoena unexecuted because:

 

 

Uniess the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, ete.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 60 of 72

AO 88A (Rey. 62/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
{A) within 100 miles of where the person resides, is employed, or
regularly transacis business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d} Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attommey’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

{A) Appearance Not Required, A person commanded to produce
decuments, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, cr trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit mspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. if an objection is made,
the foliowing rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) l¥hen Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii} requires a person to comply beyond the geographical limits
specified in Rule 45(c};

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person ta undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(4}{3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions ifthe serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii} ensures that the subpoenaed person will be reasonably compensated.

{e} Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which if is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form, The
person responding need not produce the same electronically stored
information in more than one form.

{D) Jnaccessible Electronically Stored information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(o)(2\(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it, After being
notified, a party must prompély return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information ifthe party disclosed it before being notified; and may prompily
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 16
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 62 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

Plaintiff
We

Brad Raffensperger, et al.,

Civil Action No. 1:18-CV-05391 (SCJ)

Nee Nee LY NL LL

 

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Camille Williams
3151 Stillhouse Creek Drive, Apt. #4218, Atlanta, GA 30339

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/13/2020 9:00 am

 

 

The deposition will be recorded by this method; _ Stenographic Recording

W Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. *Note providing native or PDF documents is acceptable for requests 1 and 2.
“E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT
OR

 

Signature of Clerk or Deputy Clerk “Ato? y's §

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to

whom it is directed, Fed. R. Civ. P. 45(a)(4).
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 63 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No, 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

T received this subpoena for (name of individual and title, if ary)

 

On (date)

A) J served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) ‘or

 

f | returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 64 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(3 is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronicaily stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

({d) Protecting a Person Subject fo a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena, The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost eamings and reasonable attorney’s fees—on a party or attorney who
faiis to comply,

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or mal,

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [fan objection is made,
the following rules apply:

(3} At any time, on notice to the commanded person, the serving party
inay move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer ftom
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply:

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c};

(ii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) hen Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative, In the circumstances
described in Rute 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(3) shows 2 substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
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(e) Duties in Responding to a Subpoena.

(i) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand,

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms,

(C) Electronically Stored Information Praduced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Jnaccessible Electronically Stored Information. The person
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from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion te compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) /nformation Withheid. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(8 expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim 1s resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required-—~and also, after a
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For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
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EXHIBIT 17
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 66 of 72

AO 88A (Rey. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,
Plaintiff
V.
Brad Raffensperger, et al.,

Civil Action No. 1:18-CV-05391 (SCJ)

 

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Nicolas Winbush
4617 lvygate Circle, SE, Atlanta, GA 30339

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 564311# 04/13/2020 10:30 am

 

 

 

The deposition will be recorded by this method: _ Stenographic Recording

a Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
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*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

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Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/24/2020

CLERK OF COURT
OR

  

 

 

Signature of Clerk or Deputy G lerk Altorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
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Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 67 of 72

AO 88A (Rev. 02/14} Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, ifany)

 

On (date)

CF I served the subpoena by delivering a copy to the named individual as follows:

 

 

On (date) or

 

© | returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

 

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 1:18-cv-05391-SCJ Document 278-1 Filed 03/24/20 Page 68 of 72

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Piace of Compliance.

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(B) within the state where the person resides, is envployed, or regularly
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or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45¢d)(3)(8), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and.
(ii) ensures that the subpoenaed person will be reasonably compensated.

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order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
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(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as triai-preparation
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(i) expressly make the claim; and

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trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
unt the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved,

{g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ, P. 45(a) Committee Note (2013).

 

 
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EXHIBIT 18
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Fair Fight Action, Inc., et al.,

 

Plaintiff
Vv.

Brad Raffensperger, et al.,

Civil Action No. 1:18-CV-05391 (SCJ)

 

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Mariah Wolfe
350 Spelman Lane, Atlanta, GA 30314

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Conference line: 888-337-8218 Date and Time:
Conference Code: 845871# 04/13/2020 12:00 pm

 

 

 

The deposition will be recorded by this method; | Stenographic Recording

 

Ot Preduction: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: 1. All communications between you and any plaintiff or plaintiff representative in this action.

2. All documents that refer or relate to the incidents you describe in your Declaration submitted by
plaintiffs in this action. “Note providing native or PDF documents is acceptable for requests 1 and 2.
*E-mail documents to kbunch@robbinsfirm.com or mail to Mr. Miller (address below) c/o Kim Bunch

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

OR id
(

Signature of Clerk or Deputy Clerk me =

CLERK OF COURT

 

Attorney’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

‘State Election Board, et al. , who issues or requests this subpoena, are:
Carey Miller, 500 14th Street, NW, Atlanta, Georgia (678) 701-9381, cmiller@robbinsfirm.com

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev, 02/14} Subpoena to Testify at a Deposition ina Civil Action {Page 2)

 

Civil Action No. 1:18-CV-05391 (SCJ)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if ary)

 

On (date)

[J I served the subpoena by delivering a copy to the named individual as follows:

 

 

On {date} ; or

 

I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

{c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may cormmand a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(i) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be mspected.

(d) Protecting a Person Subject to 2 Subpoena; Enforcement.

(t) Aveiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject ta the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attomey’s fees—on a party or atformey who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

{A) Appearance Noi Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or ta
producing electronicatly stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpeena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time te comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(e):

(iii} requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

{iv) subjects a person to undue burden.

(B)} When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

i) disclosing a trade secret or other confidential research, development,
or commercial] information; or

(ii} disclosing an unretained expert’s opinion or information that does
not describe spectfic occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3){B}, the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or materia! that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

{e) Duties in Responding to a Subpoena.

() Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Tfa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost, On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) fnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If infonmation produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may prompily
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 
